 Fill in this information to identify your case:

 Debtor 1
                     Barbara K Berrett
                   __________________________________________________________________
                     First Name                      Middle Name                    Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                      Middle Name                    Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                                (State)
 Case number           2:18-bk-13576-MCW
                     ___________________________________________                                                                                                           Check if this is an
                     (If known)                                                                                                                                              amended filing



Official Form 106Sum
Sum m a ry of Y our Asse t s a nd Lia bilit ie s a nd Ce rt a in St a t ist ic a l I nform a t ion                                                                                       12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.


Pa rt 1 :      Sum ma rize Your Asse t s


                                                                                                                                                                      Your assets
                                                                                                                                                                      Value of what you own
1. Schedule A/B: Property (Official Form 106A/B)
    1a. Copy line 55, Total real estate, from Schedule A/B ........................................................................................................       $ 2,255,062.00
                                                                                                                                                                            ________________



    1b. Copy line 62, Total personal property, from Schedule A/B .............................................................................................            $ 3,022,568.96
                                                                                                                                                                            ________________


    1c. Copy line 63, Total of all property on Schedule A/B .......................................................................................................
                                                                                                                                                                          $ 5,277,630.96
                                                                                                                                                                            ________________



Pa rt 2 :      Sum ma rize Your Lia bilit ie s



                                                                                                                                                                      Your liabilities
                                                                                                                                                                      Amount you owe
2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
    2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D ............                                       $ 1,595,666.00
                                                                                                                                                                            ________________


3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
                                                                                                                                                                          $ 429,854.84
                                                                                                                                                                            ________________
    3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F ...........................................

    3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F .......................................
                                                                                                                                                                      +   $ 170,515.23
                                                                                                                                                                            ________________


                                                                                                                                     Your total liabilities               $ 2,196,036.07
                                                                                                                                                                            ________________



Pa rt 3 :      Sum ma rize Your I nc ome a nd Ex pe nse s


4. Schedule I: Your Income (Official Form 106I)
    Copy your combined monthly income from line 12 of Schedule I ........................................................................................                 $ 11,889.00
                                                                                                                                                                            ________________


5. Schedule J: Your Expenses (Official Form 106J)
    Copy your monthly expenses from line 22c of Schedule J ..................................................................................................             $ 39,768.49
                                                                                                                                                                            ________________




          Case
Official Form    2:18-bk-13576-MCW
              106Sum           Summary ofDoc
                                          Your 19
                                               AssetsFiled 12/07/18
                                                     and Liabilities        Entered
                                                                     and Certain          12/07/18
                                                                                 Statistical           19:21:34
                                                                                             Information                                                                       Desc
                                                                                                                                                                               page 1 of 2
                                                                    Main Document                         Page 1 of 31
                  Barbara K Berrett                                                                                       2:18-bk-13576-MCW
Debtor 1         _______________________________________________________                           Case number (if known)_____________________________________
                 First Name     Middle Name        Last Name




Pa rt 4 :      Answ e r T he se Que st ions for Adm inist ra t ive a nd Sta t istic a l Re c ords

6. Are you filing for bankruptcy under Chapters 7, 11, or 13?

     No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.
     Yes
     ✔




7. What kind of debt do you have?

     Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal,
    ✔


           family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

     Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit
           this form to the court with your other schedules.



8. From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official
    Form 122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                                       11,889.00
                                                                                                                                       $ _________________




9. Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:



                                                                                                            Total claim


     From Part 4 on Schedule E/F, copy the following:

                                                                                                                               0.00
    9a. Domestic support obligations (Copy line 6a.)                                                        $_____________________


                                                                                                                   429,854.84
                                                                                                            $_____________________
    9b. Taxes and certain other debts you owe the government. (Copy line 6b.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)

                                                                                                                               0.00
                                                                                                            $_____________________
    9d. Student loans. (Copy line 6f.)


    9e. Obligations arising out of a separation agreement or divorce that you did not report as                                0.00
                                                                                                            $_____________________
        priority claims. (Copy line 6g.)

                                                                                                                               0.00
    9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)              +   $_____________________



    9g. Total. Add lines 9a through 9f.                                                                             429,854.84
                                                                                                            $_____________________




         Case
    Official      2:18-bk-13576-MCW
             Form 106Sum        Summary ofDoc
                                           Your 19
                                                AssetsFiled 12/07/18
                                                      and Liabilities        Entered
                                                                      and Certain          12/07/18
                                                                                  Statistical           19:21:34
                                                                                              Information                                     Desc
                                                                                                                                              page 2 of 2
                                                          Main Document                Page 2 of 31
Fill in this information to identify your case and this filing:


Debtor 1
                    Barbara K Berrett
                  __________________________________________________________________
                    First Name               Middle Name                Last Name

Debtor 2            ________________________________________________________________
(Spouse, if filing) First Name               Middle Name                Last Name


                                        ______________________
United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                    (State)
Case number           2:18-bk-13576-MCW
                    ___________________________________________
                                                                                                                                         Check if this is an
                                                                                                                                             amended filing

Official Form 106A/B
Sche dule A/B: Prope r t y                                                                                                                              12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think it fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

Pa rt 1 :      De sc ribe Ea c h Re side nc e , Building, La nd, or Othe r Re a l Est a t e You Ow n or H a ve a n I nt e re st I n
1. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

        No. Go to Part 2.
    
    ✔    Yes. Where is the property?                             What is the property? Check all that apply.       Do not deduct secured claims or exemptions. Put
                                                                 
                                                                 ✔    Single-family home                           the amount of any secured claims on Schedule D:
      1.1. 6201    N. Yucca Street
           _________________________________________                 Duplex or multi-unit building
                                                                                                                   Creditors Who Have Claims Secured by Property:
           Street address, if available, or other description
                                                                     Condominium or cooperative                   Current value of the Current value of the
                                                                     Manufactured or mobile home                  entire property?     portion you own?
             _________________________________________
                                                                     Land                                          2,255,062.00 $_________________
                                                                                                                   $________________ 2,255,062.00
                                                                     Investment property
             Paradise   Valley        AZ     85253                                                                 Describe the nature of your ownership
             _________________________________________
             City                        State      ZIP Code
                                                                     Timeshare                                    interest (such as fee simple, tenancy by
                                                                     Other __________________________________     the entireties, or a life estate), if known.

                                                                 Who has an interest in the property? Check one.
                                                                                                                   Fee  simple
                                                                                                                   __________________________________________

            Maricopa   County                                    
                                                                 ✔ Debtor 1 only                                    Check if this is community property
            _________________________________________
             County                                               Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




    If you own or have more than one, list here:                What is the property? Check all that apply.        Do not deduct secured claims or exemptions. Put
                                                                    Single-family home                            the amount of any secured claims on Schedule D:
                                                                                                                   Creditors Who Have Claims Secured by Property.
      1.2. ________________________________________
           Street address, if available, or other description
                                                                    Duplex or multi-unit building
                                                                   Condominium or cooperative                     Current value of the     Current value of the
                                                                    Manufactured or mobile home                   entire property?         portion you own?
             ________________________________________
                                                                    Land                                          $________________        $_________________
                                                                    Investment property
             ________________________________________
             City                    State   ZIP Code
                                                                    Timeshare                                     Describe the nature of your ownership
                                                                    Other __________________________________      interest (such as fee simple, tenancy by
                                                                                                                   the entireties, or a life estate), if known.
                                                                Who has an interest in the property? Check one.
                                                                                                                   __________________________________________
                                                                 Debtor 1 only
             ________________________________________
             County                                              Debtor 2 only
                                                                 Debtor 1 and Debtor 2 only                        Check if this is community property
                                                                 At least one of the debtors and another             (see instructions)

                                                                Other information you wish to add about this item, such as local
                                                                property identification number:


            Case 2:18-bk-13576-MCW                          Doc 19 Filed 12/07/18 Entered 12/07/18 19:21:34                                    Desc
                                                            Main Document    Page 3 of 31                                                        page 1 of ___
                                                                                                                                                            10
1.____                                                           What is the property? Check all that apply.              Do not deduct secured claims or exemptions. Put

            ________________________________________
                                                                    Single-family home                                   the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
            Street address, if available, or other description      Duplex or multi-unit building
                                                                    Condominium or cooperative                           Current value of the      Current value of the
                                                                                                                          entire property?          portion you own?
            ________________________________________                Manufactured or mobile home
                                                                    Land                                                 $________________         $_________________

            ________________________________________
                                                                    Investment property
            City                    State   ZIP Code                Timeshare
                                                                                                                          Describe the nature of your ownership
                                                                                                                          interest (such as fee simple, tenancy by
                                                                    Other __________________________________             the entireties, or a life estate), if known.
                                                                                                                         __________________________________________
                                                                 Who has an interest in the property? Check one.
            ________________________________________              Debtor 1 only
            County
                                                                  Debtor 2 only
                                                                  Debtor 1 and Debtor 2 only                              Check if this is community property
                                                                                                                              (see instructions)
                                                                  At least one of the debtors and another
                                                                 Other information you wish to add about this item, such as local
                                                                 property identification number:




2. Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages                                  2,255,062.00
                                                                                                                                                    $_________________
   you have attached for Part 1. Write that number here. ...................................................................................... 


Pa rt 2 :      De sc ribe Y our V e hic le s


Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

        No
   
   ✔     Yes


    3.1.
                   Ford
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Escape
            Model: ____________________________                   Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   2005                           Debtor 2 only
            Year:                 ____________
                                                                  Debtor 1 and Debtor 2 only                             Current value of the      Current value of the
                                  25000                                                                                   entire property?          portion you own?
            Approximate mileage: ____________                    
                                                                 ✔ At least one of the debtors and another

         Other information:
                                                                                                                           3,000.00                  3,000.00
   Condition: Fair; Joint Title with daughter. Treated            Check if this is community property (see               $________________         $________________
   as daughters vehicle.                                             instructions)



   If you own or have more than one, describe here:

    3.2.           Ford
            Make: ____________________________                   Who has an interest in the property? Check one.          Do not deduct secured claims or exemptions. Put
                    Explorer
            Model: ____________________________                  
                                                                 ✔ Debtor 1 only                                          the amount of any secured claims on Schedule D:
                                                                                                                          Creditors Who Have Claims Secured by Property.
                                   1996                           Debtor 2 only
            Year:                 ____________                                                                            Current value of the      Current value of the
                                                                  Debtor 1 and Debtor 2 only                             entire property?          portion you own?
                                  55000
            Approximate mileage: ____________                     At least one of the debtors and another
         Other information:
                                                                                                                           945.00
                                                                                                                          $________________          945.00
                                                                                                                                                    $________________
   Condition: Poor; Needs $750 in repairs to run.                 Check if this is community property (see
                                                                     instructions)




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                                                                                                                                                              2 of __
                                                                                                                                                         page ___
                                                             Main Document    Page 4 of 31
           Make:      Infinity
                       ____________________________                           Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
  ____.
  3.3
           Model: G35
                  ____________________________
                                                                               Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                            2005                               Debtor 2 only
           Year:                            ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
           Approximate mileage: 10,000                                                                                                                  entire property?                 portion you own?
                                ____________                                   At least one of the debtors and another
           Other information:
                                                                                                                                                         6,000.00                         6,000.00
           Condition: Good; Used only in Arizona                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




                                                                              Who has an interest in the property? Check one.                           Do not deduct secured claims or exemptions. Put
 ____      Make: ____________________________
           Model: ____________________________                                 Debtor 1 only                                                           the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                               Debtor 2 only
           Year:                             ____________
                                                                               Debtor 1 and Debtor 2 only                                              Current value of the             Current value of the
                                                                                                                                                        entire property?                 portion you own?
           Approximate mileage: ____________                                   At least one of the debtors and another
           Other information:
                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)




4. Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories
   Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories
   
   ✔    No
       Yes


                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.1.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________
                                                                              Debtor 1 and Debtor 2 only                                               Current value of the             Current value of the
            Other information:                                                At least one of the debtors and another                                  entire property?                 portion you own?

                                                                               Check if this is community property (see                                $________________                $________________
                                                                                  instructions)



   If you own or have more than one, list here:
                                                                             Who has an interest in the property? Check one.                            Do not deduct secured claims or exemptions. Put
   4.2.     Make:       ____________________________

            Model: ____________________________                               Debtor 1 only                                                            the amount of any secured claims on Schedule D:
                                                                                                                                                        Creditors Who Have Claims Secured by Property.
                                                                              Debtor 2 only
            Year:       ____________                                                                                                                    Current value of the             Current value of the
                                                                              Debtor 1 and Debtor 2 only                                               entire property?                 portion you own?
            Other information:                                                At least one of the debtors and another
                                                                                                                                                        $________________                $________________
                                                                               Check if this is community property (see
                                                                                  instructions)




5. Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages                                                                      9,945.00
                                                                                                                                                                                        $_________________
   you have attached for Part 2. Write that number here ............................................................................................................................




                                                                                                                                                                                                  3      10
           Case 2:18-bk-13576-MCW                                       Doc 19 Filed 12/07/18 Entered 12/07/18 19:21:34                                                                    Desc
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                                                                        Main Document    Page 5 of 31
Pa rt 3 :      De sc ribe Y our Pe rsona l a nd H ouse hold It e m s

                                                                                                                                                                                                   Current value of the
Do you own or have any legal or equitable interest in any of the following items?                                                                                                                  portion you own?
6. Household goods and furnishings                                                                                                                                                                 Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
   Examples: Major appliances, furniture, linens, china, kitchenware
                             2 leather couches purchased in 2011, 1 cloth couch purchased in 2011, 2 chairs purchased 2008, 3
    No                      bed frames purchased 2002, glass table top and 4 faux leather chairs purchased 2007, 3 barstools
   
   ✔ Yes. Describe. ........
                             purchased 2007, 4 night stands and 2 glass side tables purchased in 2007.
                                                                                                                                                                                                      5,790.00
                                                                                                                                                                                                    $___________________

7. Electronics

   Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
             collections; electronic devices including cell phones, cameras, media players, games
    No                     3 TVs purchased in 1996 and 2002
   
   ✔ Yes. Describe. ........                                                                                                                                                                          250.00
                                                                                                                                                                                                    $___________________

8. Collectibles of value
   Examples: Antiques and figurines; paintings, prints, or other artwork; books, pictures, or other art objects;
             stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
    No                    Modern Art Paintings by local artist in 2004.
   
   ✔    Yes. Describe. .........                                                                                                                                                                      3,000.00
                                                                                                                                                                                                    $___________________

9. Equipment for sports and hobbies
   Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
             and kayaks; carpentry tools; musical instruments
    No                   Hammers, 2 ladders, rake all very old.
   
   ✔    Yes. Describe. .........                                                                                                                                                                      100.00
                                                                                                                                                                                                    $___________________

10. Firearms
   Examples: Pistols, rifles, shotguns, ammunition, and related equipment
   
   ✔ No

    Yes. Describe. .........                                                                                                                                                                        0.00
                                                                                                                                                                                                    $___________________

11. Clothes
   Examples: Everyday clothes, furs, leather coats, designer wear, shoes, accessories
    No                   Various wearing apparel.
   
   ✔    Yes. Describe. .........                                                                                                                                                                      500.00
                                                                                                                                                                                                    $___________________


12. Jewelry
   Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
             gold, silver
       No                       2013 Fossil Watch, Diamond ring - old wedding ring.
   
   ✔    Yes. Describe. .........                                                                                                                                                                      2,250.00
                                                                                                                                                                                                    $___________________

13. Non-farm animals
   Examples: Dogs, cats, birds, horses

       No
                                 Basset Hound - 8 years old
   
   ✔    Yes. Describe. .........                                                                                                                                                                      Unknown
                                                                                                                                                                                                    $___________________

14. Any other personal and household items you did not already list, including any health aids you did not list

   
   ✔    No
       Yes. Give specific                                                                                                                                                                            0.00
                                                                                                                                                                                                    $___________________
        information...............

15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached                                                                                        11,890.00
                                                                                                                                                                                                    $______________________
   for Part 3. Write that number here ........................................................................................................................................................ 


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                                                                                                                                                                                                             page ___ of __
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Pa rt 4 :     De sc ribe Y our Fina nc ia l Asse t s

Do you own or have any legal or equitable interest in any of the following?                                                                                                                                        Current value of the
                                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                                   or exemptions.


16. Cash
   Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you file your petition

   
   ✔   No
      Yes .....................................................................................................................................................................   Cash: .......................    $__________________



17. Deposits of money
   Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,
             and other similar institutions. If you have multiple accounts with the same institution, list each.
      No
   
   ✔   Yes .....................                 Institution name:


   17.1. Checking account:
                                                 Wells Fargo                                                                          733.96
                                                 ___________________________________________________________________________________ $__________________

   17.2. Checking account:                       ___________________________________________________________________________________ $__________________

   17.3. Savings account:                        ___________________________________________________________________________________ $__________________

   17.4. Savings account:                        ___________________________________________________________________________________ $__________________

   17.5. Certificates of deposit: ___________________________________________________________________________________                                                                                               $__________________
   17.6. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.7. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.8. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
   17.9. Other financial account: ___________________________________________________________________________________
                                                                                                                                                                                                                    $__________________




18. Bonds, mutual funds, or publicly traded stocks
   Examples: Bond funds, investment accounts with brokerage firms, money market accounts
   
   ✔   No
      Yes ..................
   Institution or issuer name:
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________
                                                                                                                                                                                                                    $__________________
   ___________________________________________________________________________________________________________________                                                                                              $__________________



19. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
   an LLC, partnership, and joint venture
   
   ✔ No

    Yes. Give specific
       information about                                                                                                                                                                                            $__________________
       them. ........................
                                                                                                                                                                                                                    $__________________
  Name of entity:                                                                                                                                                                         % of ownership:
                                                                                                                                                                                                                    $__________________
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%
                                                                                                                                                                                                                    $__________________
  _____________________________________________________________________________________________________                                                                                       ___________%

  _____________________________________________________________________________________________________                                                                                       ___________%          $__________________


            Case 2:18-bk-13576-MCW                                                        Doc 19 Filed 12/07/18 Entered 12/07/18 19:21:34                                                                                  Desc        10
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20. Government and corporate bonds and other negotiable and non-negotiable instruments
    Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
    Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
    
    ✔ No

     Yes. Give specific
         information about
         them. ......................
    Issuer name:

    ___________________________________________________________________________________________________________________
                                                                                                                                       $__________________

    ___________________________________________________________________________________________________________________ $__________________

    ________________________________________________________________________________________________________________ $__________________

21. Retirement or pension accounts
    Examples: Interests in IRA, ERISA, Keogh, 401(k), 403(b), thrift savings accounts, or other pension or profit-sharing plans
   
   ✔ No

    Yes. List each
         account separately.                Institution name:
         Type of account:

 401(k) or similar plan:           _________________________________________________________________________________________________   $__________________
                                                                                                                                       $__________________
 Pension plan:                     _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 IRA:                              _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Retirement account:               _________________________________________________________________________________________________   $___________________
                                                                                                                                       $_________________
 Keogh:                            _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________
 Additional account:               _________________________________________________________________________________________________ $__________________
                                                                                                                                     $__________________

22. Security deposits and prepayments
    Your share of all unused deposits you have made so that you may continue service or use from a company
    Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water), telecommunications
    companies, or others

    
    ✔    No
        Yes ...........................    Institution name or individual:

Electric:                  ____________________________________________________________________________________________________
                                                                                                                                       $___________________

Gas:                       ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Heating oil:               _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rental unit:               ____________________________________________________________________________________________________        $___________________
                                                                                                                                       $___________________

Prepaid rent:              _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Telephone:                 _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Water:                     _________________________________________________________________________________________________           $___________________
                                                                                                                                       $___________________

Rented furniture:        ______________________________________________________________________________________________________ $___________________
                                                                                                                                $___________________

Other:                   ___________________________________________________________________________________________________ $___________________
                                                                                                                             $___________________

                                                                                                                                       $__________________
                                                                                                                                       _
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)

    
    ✔    No
        Yes ...........................   Issuer name and description:
_____________________________________________________________________________________________________________________                  $__________________

_____________________________________________________________________________________________________________________                  $__________________
_____________________________________________________________________________________________________________________                  $__________________
                                                                                                                                       $__________________
                                                                                                                                       $__________________
            Case 2:18-bk-13576-MCW                                   Doc 19 Filed 12/07/18 Entered 12/07/18 19:21:34    Desc
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24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
   26 U.S.C. §§ 530(b)(1), 529A(b), and 529(b)(1).
   
   ✔   No
      Yes .....................................   Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________
   ____________________________________________________________________________________________________________________                                 $_________________


25. Trusts, equitable or future interests in property (other than anything listed in line 1), and rights or powers
   exercisable for your benefit

   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
   Examples: Internet domain names, websites, proceeds from royalties and licensing agreements
   
   ✔   No
      Yes. Give specific
       information about them. ..                                                                                                                        0.00
                                                                                                                                                        $__________________


27. Licenses, franchises, and other general intangibles
   Examples: Building permits, exclusive licenses, cooperative association holdings, liquor licenses, professional licenses
                                Licensed to practice law in Utah, Licensed to practice law in Arizona (inactive)
    No
   
   ✔   Yes. Give specific
       information about them. ..                                                                                                                        Unknown
                                                                                                                                                        $__________________


Money or property owed to you?                                                                                                                          Current value of the
                                                                                                                                                        portion you own?
                                                                                                                                                        Do not deduct secured
                                                                                                                                                        claims or exemptions.

28. Tax refunds owed to you

   
   ✔   No
      Yes. Give specific information                                                                                         Federal:               0.00
                                                                                                                                                    $_________________
            about them, including whether
            you already filed the returns                                                                                     State:                 0.00
                                                                                                                                                    $_________________
            and the tax years. ......................                                                                                                0.00
                                                                                                                              Local:                $_________________


29. Family support
   Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settlement, property settlement
   
   ✔   No
      Yes. Give specific information. .............
                                                                                                                             Alimony:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Maintenance:                0.00
                                                                                                                                                        $________________
                                                                                                                             Support:                    0.00
                                                                                                                                                        $________________
                                                                                                                             Divorce settlement:         0.00
                                                                                                                                                        $________________
                                                                                                                             Property settlement:        0.00
                                                                                                                                                        $________________

30. Other amounts someone owes you
   Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,
             Social Security benefits; unpaid loans you made to someone else
   
   ✔   No
      Yes. Give specific information. ...............
                                                                                                                                                          0.00
                                                                                                                                                        $______________________



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31. Interests in insurance policies
   Examples: Health, disability, or life insurance; health savings account (HSA); credit, homeowner’s, or renter’s insurance
       No
   
   ✔   Yes. Name the insurance company             Company name:                                                                                 Beneficiary:                                        Surrender or refund value:
            of each policy and list its value. ...
      Transamerica
      ____________________________________________________________________________
                                                                                                                                                 Alexandra M. Berrett
                                                                                                                                               ____________________________                            1,000,000.00
                                                                                                                                                                                                     $__________________
      Transamerica
      ____________________________________________________________________________                                                              Alexandra M. Berrett
                                                                                                                                               ____________________________                            2,000,000.00
                                                                                                                                                                                                     $__________________
      ____________________________________________________________________________                                                               ___________________________                         $__________________

32. Any interest in property that is due you from someone who has died
   If you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive
   property because someone has died.
   
   ✔    No
       Yes. Give specific information. .............
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________


33. Claims against third parties, whether or not you have filed a lawsuit or made a demand for payment
   Examples: Accidents, employment disputes, insurance claims, or rights to sue
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $______________________

34. Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights
   to set off claims
   
   ✔    No
       Yes. Describe each claim. .....................
                                                                                                                                                                                                      0.00
                                                                                                                                                                                                     $_____________________




35. Any financial assets you did not already list

   
   ✔    No
       Yes. Give specific information. ...........                                                                                                                                                   0.00
                                                                                                                                                                                                     $_____________________



36. Add the dollar value of all of your entries from Part 4, including any entries for pages you have attached
   for Part 4. Write that number here ........................................................................................................................................................       3,000,733.96
                                                                                                                                                                                                     $_____________________




Pa rt 5 :        De sc ribe Any Busine ss-Re la t e d Prope rt y Y ou Ow n or H a ve a n I nt e re st I n. List a ny re a l e st a t e in Pa rt 1 .

37. Do you own or have any legal or equitable interest in any business-related property?

   
   ✔    No. Go to Part 6.
       Yes. Go to line 38.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.

38. Accounts receivable or commissions you already earned

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________

39. Office equipment, furnishings, and supplies
    Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

       No
       Yes. Describe .......                                                                                                                                                                      $_____________________



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40. Machinery, fixtures, equipment, supplies you use in business, and tools of your trade

       No
       Yes. Describe .......
                                                                                                                                                                                                   $_____________________


41. Inventory
       No
       Yes. Describe .......                                                                                                                                                                      $_____________________


42. Interests in partnerships or joint ventures

       No
       Yes. Describe ....... Name of entity:                                                                                                                         % of ownership:
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________
                                          ______________________________________________________________________                                                      ________%                    $_____________________


43. Customer lists, mailing lists, or other compilations
       No
       Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A))?
                     No
                     Yes. Describe.........
                                                                                                                                                                                                   $____________________


44. Any business-related property you did not already list
       No
       Yes. Give specific
                              ______________________________________________________________________________________                                                                               $____________________
        information .........
                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

                                          ______________________________________________________________________________________                                                                    $____________________

45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached                                                                                      0.00
                                                                                                                                                                                                   $____________________
   for Part 5. Write that number here ........................................................................................................................................................ 




Pa rt 6 :        De sc ribe Any Fa rm - a nd Com m e rc ia l Fishing-Re la t e d Prope rt y You Ow n or H a ve a n I nt e re st In.
                 If you own or have an interest in farmland, list it in Part 1.


46. Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?
   
   ✔    No. Go to Part 7.
       Yes. Go to line 47.
                                                                                                                                                                                                   Current value of the
                                                                                                                                                                                                   portion you own?
                                                                                                                                                                                                   Do not deduct secured claims
                                                                                                                                                                                                   or exemptions.
47. Farm animals
   Examples: Livestock, poultry, farm-raised fish
       No
       Yes ...........................

                                                                                                                                                                                                     $___________________


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                                                                                                                                                                                                              page ___
                                                                              Main Document   Page 11 of 31
48. Crops—either growing or harvested

          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

49. Farm and fishing equipment, implements, machinery, fixtures, and tools of trade
          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

50. Farm and fishing supplies, chemicals, and feed

          No
          Yes ...........................
                                                                                                                                                                                                               $___________________

51. Any farm- and commercial fishing-related property you did not already list
          No
          Yes. Give specific
           information. ............                                                                                                                                                                           $___________________

52. Add the dollar value of all of your entries from Part 6, including any entries for pages you have attached                                                                                                  0.00
                                                                                                                                                                                                               $___________________
     for Part 6. Write that number here ........................................................................................................................................................ 



Pa rt 7 :           De sc ribe All Prope rt y Y ou Ow n or H a ve a n I nt e re st in T ha t Y ou Did N ot List Above

53. Do you have other property of any kind you did not already list?
    Examples: Season tickets, country club membership

     
     ✔     No
          Yes. Give specific
           information. ............




54. Add the dollar value of all of your entries from Part 7. Write that number here ................................................................... 
                                                                                                                                                                                                                  0.00
                                                                                                                                                                                                                 $________________




Pa rt 8 :           List t he T ot a ls of Ea c h Pa rt of t his Form


55. Part 1: Total real estate, line 2 ....................................................................................................................................................................
                                                                                                                                                                                                                2,255,062.00
                                                                                                                                                                                                               $________________

56. Part 2: Total vehicles, line 5                                                                                    9,945.00
                                                                                                                     $________________

57. Part 3: Total personal and household items, line 15                                                               11,890.00
                                                                                                                     $________________

58. Part 4: Total financial assets, line 36                                                                           3,000,733.96
                                                                                                                     $________________

59. Part 5: Total business-related property, line 45                                                                  0.00
                                                                                                                     $________________

60. Part 6: Total farm- and fishing-related property, line 52                                                         0.00
                                                                                                                     $________________

61. Part 7: Total other property not listed, line 54                                                               0.00
                                                                                                                + $________________
62. Total personal property. Add lines 56 through 61. ...................                                             3,022,568.96 Copy personal property total 
                                                                                                                     $________________                                                                            3,022,568.96
                                                                                                                                                                                                              + $_________________


63. Total of all property on Schedule A/B. Add line 55 + line 62. .......................................................................................                                                       5,277,630.96
                                                                                                                                                                                                               $_________________


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                                                                                                                                                                                                                            10 of __
                                                                                   Main Document   Page 12 of 31                                                                                                       page ___
 Fill in this information to identify your case:

                     Barbara K Berrett
 Debtor 1          __________________________________________________________________
                     First Name              Middle Name                Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name              Middle Name                Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                     (State)
 Case number
  (If known)
                      2:18-bk-13576-MCW
                     ___________________________________________                                                                                    Check if this is an
                                                                                                                                                        amended filing


Official Form 106C
Sche dule C: T he Prope r t y You Cla im a s Exe m pt                                                                                                                 4/16

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/B) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.


 Pa rt 1 :       I de nt ify the Prope rt y You Cla im a s Ex e mpt


 1. Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.
     
     ✔ You are claiming state and federal nonbankruptcy exemptions.                 11 U.S.C. § 522(b)(3)
      You are claiming federal exemptions. 11 U.S.C. § 522(b)(2)

 2. For any property you list on Schedule A/B that you claim as exempt, fill in the information below.


       Brief description of the property and line on        Current value of the                      Amount of the                  Specific laws that allow exemption
       Schedule A/B that lists this property                portion you own                           exemption you claim

                                                            Copy the value from                       Check only one box
                                                            Schedule A/B                              for each exemption
                 6201 N. Yucca Street                                                                                                Ariz. Rev. Stat. § 33-1101 (A)
 Brief
 description:
                                                                     2,255,062.00
                                                                    $________________             150,000.00
                                                                                               ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:      1.1
              Household goods - 2 leather couches purchased in                                                                       Ariz. Rev. Stat. § 33-1123
 Brief        2011, 1 cloth couch purchased in 2011, 2 chairs
 description: purchased 2008, 3 bed frames purchased 2002,
                                                                      5,790.00
                                                                    $________________           $ ____________
                                                                                                ✔  5,790.00
              glass table top and 4 faux leather chairs purchased                                100% of fair market value, up to
 Line from 2007, 3 barstools purchased 2007, 4 night stands                                         any applicable statutory limit
 Schedule A/B:       6
              Electronics - 3 TVs purchased in 1996 and 2002                                                                         Ariz. Rev. Stat. § 33-1123
 Brief
 description:
                                                                      250.00
                                                                    $________________             210.00
                                                                                               ✔ $ ____________

                                                                                                 100% of fair market value, up to
 Line from                                                                                          any applicable statutory limit
 Schedule A/B:           7

 3. Are you claiming a homestead exemption of more than $160,375?
     (Subject to adjustment on 4/01/19 and every 3 years after that for cases filed on or after the date of adjustment.)

     
     ✔     No
          Yes. Did you acquire the property covered by the exemption within 1,215 days before you filed this case?
                 No
                 Yes


          Case 2:18-bk-13576-MCW
Official Form 106C
                                                           Doc   19 Filed 12/07/18 Entered 12/07/18 19:21:34
                                                            Schedule C: The Property You Claim as Exempt
                                                                                                                                                          Desc        2
                                                                                                                                                            page 1 of __
                                                           Main Document            Page 13 of 31
Debtor           Barbara K Berrett
                _______________________________________________________                                              2:18-bk-13576-MCW
                                                                                              Case number (if known)_____________________________________
                First Name      Middle Name          Last Name




 Pa rt 2 :     Addit iona l Pa ge

            description of the property and line
         Brief                                                                           Amount of the                       Specific laws that allow exemption
                                                                  Current value of the   exemption you claim
         on Schedule A/B that lists this property                 portion you own
                                                                 Copy the value from    Check only one box
                                                                  Schedule A/B           for each exemption
               Clothing - Various wearing apparel.                                                                            Ariz. Rev. Stat. § 33-1125 (1)
Brief
description:
                                                                    500.00
                                                                   $________________        500.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:         11
               Jewelry - 2013 Fossil Watch                                                                                    Ariz. Rev. Stat. § 33-1125 (6)
Brief
description:                                                       $________________
                                                                    250.00               
                                                                                         ✔ $ ____________
                                                                                             250.00
                                                                                          100% of fair market value, up to
                                                                                            any applicable statutory limit
Line from
Schedule A/B:         12
               Jewelry - Diamond ring - old wedding ring.                                                                     Ariz. Rev. Stat. § 33-1125 (4)
Brief
description:                                                       $________________
                                                                    2,000.00             
                                                                                         ✔ $ ____________
                                                                                             2,000.00
                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:          12
               Pets - Basset Hound - 8 years old                                                                              Ariz. Rev. Stat. § 33-1125 (3)
Brief
description:
                                                                    Unknown
                                                                   $________________        250.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:         13
               Wells Fargo (Checking)                                                                                         Ariz. Rev. Stat. § 33-1126 (A)(9)
Brief
description:
                                                                    733.96
                                                                   $________________        300.00
                                                                                         ✔ $ ____________

                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:           17.1

Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
                                                                                            any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:
Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
                                                                                            any applicable statutory limit
Line from
Schedule A/B:
Brief
description:                                                       $________________      $ ____________
                                                                                          100% of fair market value, up to
Line from                                                                                   any applicable statutory limit
Schedule A/B:

           Case 2:18-bk-13576-MCW
 Official Form 106C
                                                            Doc 19 Filed 12/07/18 Entered 12/07/18 19:21:34
                                                            Schedule C: The Property You Claim as Exempt
                                                                                                                                                Desc
                                                                                                                                                   2
                                                                                                                                                page ___ of __    2
                                                            Main Document            Page 14 of 31
 Fill in this information to identify your case:

                     Barbara K Berrett
 Debtor 1          __________________________________________________________________
                     First Name                  Middle Name                  Last Name

 Debtor 2            ________________________________________________________________
 (Spouse, if filing) First Name                  Middle Name                  Last Name


                                         ______________________
 United States Bankruptcy Court for the: District of Arizona    District of __________
                                                                                          (State)
 Case number         ___________________________________________
                      2:18-bk-13576-MCW
 (If known)                                                                                                                                            Check if this is an
                                                                                                                                                          amended filing


Official Form 106D
Sc he dule D: Cre dit ors Who H a ve Cla im s Se c ure d by Prope rt y                                                                                                 12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additional pages, write your name and case number (if known).

1. Do any creditors have claims secured by your property?
           No. Check this box and submit this form to the court with your other schedules. You have nothing else to report on this form.
    
    ✔       Yes. Fill in all of the information below.


Pa rt 1 :       List All Se c ure d Cla im s
                                                                                                                          Column A             Column B              Column C
2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately Amount of claim                        Value of collateral   Unsecured
   for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2. Do not deduct the                     that supports this    portion
   As much as possible, list the claims in alphabetical order according to the creditor’s name.          value of collateral.                  claim                 If any

2.1 Bank of America, NA                                   Describe the property that secures the claim:                    1,330,000.00 $________________
                                                                                                                          $_________________ 2,255,062.00 $____________
                                                                                                                                                           0.00
     ______________________________________               6201 N. Yucca Street, Paradise Valley, AZ 85253 - $2,255,062.00
     Creditor’s Name
     4909 Savarese Circle
     ______________________________________
     Number            Street

     FL19080147
     ______________________________________               As of the date you file, the claim is: Check all that apply.
      Tampa                 FL 33634
     ______________________________________
                                                              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
  
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
      At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a
                                                              Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
  Date debt was incurred ____________                     Last 4 digits of account number
2.2 PNC Bank Mortgage Services                            Describe the property that secures the claim:                    265,666.00
                                                                                                                          $_________________                   0.00
                                                                                                                                               2,255,062.00 $____________
                                                                                                                                             $________________
     ______________________________________               6201 N. Yucca Street, Paradise Valley, AZ 85253 - $2,255,062.00
     Creditor’s Name
      P.O. Box 8709
     ______________________________________
     Number            Street

     ______________________________________
                                                          As of the date you file, the claim is: Check all that apply.
      Dayton                       OH
     ______________________________________
                                           45401              Contingent
     City                          State   ZIP Code           Unliquidated
  Who owes the debt? Check one.                               Disputed
  
  ✔    Debtor 1 only                                      Nature of lien. Check all that apply.
      Debtor 2 only
                                                          
                                                          ✔    An agreement you made (such as mortgage or secured
      Debtor 1 and Debtor 2 only                              car loan)
      At least one of the debtors and another                Statutory lien (such as tax lien, mechanic’s lien)

    Check if this claim relates to a                         Judgment lien from a lawsuit
     community debt                                           Other (including a right to offset) ____________________
  Date debt was incurred ____________                     Last 4 digits of account number
     Add the dollar value of your entries in Column A on this page. Write that number here:                               $_________________
                                                                                                                            1,595,666.00
              Case 2:18-bk-13576-MCW                             Doc 19           Filed 12/07/18                Entered 12/07/18 19:21:34                    Desc
   Official Form 106D                              Schedule D: Creditors
                                                            Main         Who Have Claims
                                                                   Document              Secured
                                                                                      Page   15 by
                                                                                                 of Property
                                                                                                     31                                                     page 1 of ___
                                                                                                                                                                       2
Debtor 1
              Barbara K Berrett
               _______________________________________________________                                                 2:18-bk-13576-MCW
                                                                                                Case number (if known)_____________________________________
              First Name      Middle Name        Last Name


  Pa rt 2 :      List Ot he rs t o Be N ot ifie d for a De bt T ha t You Alre a dy List e d

  Use this page only if you have others to be notified about your bankruptcy for a debt that you already listed in Part 1. For example, if a collection
  agency is trying to collect from you for a debt you owe to someone else, list the creditor in Part 1, and then list the collection agency here. Similarly, if
  you have more than one creditor for any of the debts that you listed in Part 1, list the additional creditors here. If you do not have additional persons to
  be notified for any debts in Part 1, do not fill out or submit this page.

       Leonard J. McDonald, Jr.                                                                                                                2.1
                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number
       c/o Tiffany & Bosco, PA
      _____________________________________________________________________
      Street
       2525 E. Camelback Road, 7th Floor
      _____________________________________________________________________
       Phoenix                                       AZ            85016
      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

                                                                                           On which line in Part 1 did you enter the creditor? _____
      _____________________________________________________________________
      Name                                                                                 Last 4 digits of account number

      _____________________________________________________________________
      Street

      _____________________________________________________________________

      _____________________________________________________________________
      City                                    State         ZIP Code

           Case 2:18-bk-13576-MCW                       Doc 19       Filed 12/07/18            Entered 12/07/18 19:21:34                     Desc
  Official Form 106D                        Part 2 of Schedule D: Creditors Who Have
                                                       Main Document             PageClaims
                                                                                         16 Secured
                                                                                            of 31 by Property                                page ___
                                                                                                                                                   2 of ___
                                                                                                                                                        2
  Fill in this information to identify your case:

                           Barbara K Berrett
      Debtor 1           __________________________________________________________________
                          First Name                    Middle Name              Last Name

      Debtor 2            ________________________________________________________________
      (Spouse, if filing) First Name                    Middle Name              Last Name


      United States Bankruptcy Court for the: ______________________
                                              District of Arizona    District of __________
                                                                                             (State)
      Case number         ___________________________________________
                            2:18-bk-13576-MCW
                                                                                                                                                        Check if this is an
      (If known)                                                                                                                                           amended filing


 Official Form 106E/F
 Sc he dule E/F: Cre dit ors Who Ha ve U nse c ure d Cla im s                                                                                                        12/15

 Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
 List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
 A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
 creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Claims Secured by Property. If more space is
 needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
 any additional pages, write your name and case number (if known).

 Pa rt 1 :            List All of Y our PRIORI T Y Unse c ure d Cla im s

 1. Do any creditors have priority unsecured claims against you?
          No. Go to Part 2.
         
         ✔ Yes.

 2.      List all of your priority unsecured claims. If a creditor has more than one priority unsecured claim, list the creditor separately for each claim. For
         each claim listed, identify what type of claim it is. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
         nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor’s name. If you have more than two priority
         unsecured claims, fill out the Continuation Page of Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.
         (For an explanation of each type of claim, see the instructions for this form in the instruction booklet.)
                                                                                                                                        Total claim   Priority     Nonpriority
                                                                                                                                                      amount       amount
            Internal Revenue Service
2.1                                                                                                                                  64,936.05 $___________
                                                                                                                                                  0.00       64,936.05
                                                                        Last 4 digits of account number                            $_____________           $____________
           ____________________________________________
           Priority Creditor’s Name
                                                                        When was the debt incurred?          2014
                                                                                                             ____________
           ____________________________________________
           Number            Street
           ____________________________________________                 As of the date you file, the claim is: Check all that apply.
           Cincinnati               OH      45999-0149
           ____________________________________________                    Contingent
           City                                 State    ZIP Code
                                                                           Unliquidated
           Who incurred the debt? Check one.                               Disputed
           
           ✔      Debtor 1 only                                         Type of PRIORITY unsecured claim:
                 Debtor 2 only                                            Domestic support obligations
                 Debtor 1 and Debtor 2 only                            
                                                                        ✔   Taxes and certain other debts you owe the government
                 At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                 Check if this claim is for a community debt               intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           ✔ No

                 Yes
             Internal Revenue Service
2.2
                                                                        Last 4 digits of account number                                 65,966.67 $___________
                                                                                                                                       $_____________ 0.00      65,966.67
                                                                                                                                                               $____________
            ____________________________________________
            Priority Creditor’s Name                                    When was the debt incurred?          2015
                                                                                                             ____________
            ____________________________________________
            Number           Street                                     As of the date you file, the claim is: Check all that apply.
            ____________________________________________                   Contingent
             Cincinnati              OH     45999-0149
            ____________________________________________                   Unliquidated
            City                                State    ZIP Code
                                                                           Disputed
            Who incurred the debt? Check one.
           
           ✔       Debtor 1 only                                        Type of PRIORITY unsecured claim:
                  Debtor 2 only                                           Domestic support obligations
                  Debtor 1 and Debtor 2 only                           
                                                                        ✔   Taxes and certain other debts you owe the government
                  At least one of the debtors and another
                                                                           Claims for death or personal injury while you were
                  Check if this claim is for a community debt              intoxicated
                                                                           Other. Specify
           Is the claim subject to offset?
           
           ✔       No
                  Yes
                  Case 2:18-bk-13576-MCW                              Doc 19       Filed 12/07/18               Entered 12/07/18 19:21:34                    Desc
 Official Form 106E/F                                            Schedule
                                                                   Main E/F: Creditors Who Have
                                                                          Document         Page Unsecured
                                                                                                  17 of 31Claims                                             page 1 of ___
                                                                                                                                                                       8
                    Barbara K Berrett                                                                                              2:18-bk-13576-MCW
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name     Middle Name           Last Name


Pa rt 1 :          Y our PRI ORI T Y Unse c ure d Cla im s ─ Cont inua t ion Pa ge

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.                              Total claim   Priority    Nonpriority
                                                                                                                                                  amount      amount

2.3   Internal Revenue Service
                                                                                                                                     73,899.80 $__________
                                                                                                                                                 0.00        73,899.80
                                                                    Last 4 digits of account number                                $____________           $____________

      ____________________________________________
      Priority Creditor’s Name                                      When was the debt incurred?           2016
                                                                                                         ____________
      ____________________________________________
      Number             Street                                     As of the date you file, the claim is: Check all that apply.
      ____________________________________________                     Contingent
      Cincinnati               OH     45999-0149                       Unliquidated
      ____________________________________________
      City                                State    ZIP Code            Disputed
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations
      
      ✔      Debtor 1 only                                          
                                                                    ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                             Claims for death or personal injury while you were
                                                                        intoxicated
            Debtor 1 and Debtor 2 only
                                                                       Other. Specify
            At least one of the debtors and another

            Check if this claim is for a community debt
      Is the claim subject to offset?
      ✔
            No
            Yes
2.4    Internal Revenue Service
                                                                                                                                    225,052.32$__________
                                                                                                                                                 0.00       225,052.32
                                                                    Last 4 digits of account number                                $____________          $____________

      ____________________________________________                  When was the debt incurred?           2012
                                                                                                         ____________
      Priority Creditor’s Name

      ____________________________________________                  As of the date you file, the claim is: Check all that apply.
      Number             Street

      ____________________________________________                     Contingent
                                                                       Unliquidated
       Cincinnati                         OH
      ____________________________________________
                                                  45999-0149           Disputed
      City                                State    ZIP Code
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations
      
      ✔      Debtor 1 only                                          
                                                                    ✔   Taxes and certain other debts you owe the government
            Debtor 2 only                                             Claims for death or personal injury while you were
            Debtor 1 and Debtor 2 only                                 intoxicated
            At least one of the debtors and another                   Other. Specify

            Check if this claim is for a community debt
      Is the claim subject to offset?
      
      ✔      No
            Yes


                                                                    Last 4 digits of account number                                $____________ $__________ $____________

      ____________________________________________
      Priority Creditor’s Name                                      When was the debt incurred?          ____________
      ____________________________________________
      Number            Street                                      As of the date you file, the claim is: Check all that apply.
      ____________________________________________                     Contingent
                                                                       Unliquidated
      ____________________________________________
      City                                State   ZIP Code             Disputed
                                                                    Type of PRIORITY unsecured claim:
      Who incurred the debt? Check one.                                Domestic support obligations

       Debtor 1 only                                                  Taxes and certain other debts you owe the government

       Debtor 2 only                                                  Claims for death or personal injury while you were
                                                                        intoxicated
       Debtor 1 and Debtor 2 only                                     Other. Specify
       At least one of the debtors and another
       Check if this claim is for a community debt
      Is the claim subject to offset?
            No
            Yes
           Case 2:18-bk-13576-MCW                              Doc 19          Filed 12/07/18               Entered 12/07/18 19:21:34                    Desc
  Official Form 106E/F                                   Schedule
                                                           Main E/F: Creditors Who Have
                                                                  Document         Page Unsecured
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                                                                                                                                                                  2 of ___
                                                                                                                                                                        8
                       Barbara K Berrett                                                                                            2:18-bk-13576-MCW
 Debtor 1             _______________________________________________________                                Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

          American Express                                                                                                                                         Total claim
4.1
                                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                             22,237.00
                                                                                                                                                                 $__________________
         Nonpriority Creditor’s Name
                                                                                         When was the debt incurred?           ____________
          P.O. Box 981537
         _____________________________________________________________
         Number            Street

         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         El Paso                             TX       79998
         _____________________________________________________________                      Contingent
         City                                             State          ZIP Code
                                                                                            Unliquidated
         Who incurred the debt? Check one.                                                  Disputed
         
         ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt

         
         ✔      No
               Yes
4.2
         American Express                                                                Last 4 digits of account number                                          19,431.00
                                                                                                                                                                 $__________________
         _____________________________________________________________                   When was the debt incurred?           ____________
         Nonpriority Creditor’s Name
         P.O. Box 981537
         _____________________________________________________________
         Number            Street
                                                                                         As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
          El Paso                                         TX
                                                      79998
                                                                                            Contingent
         _____________________________________________________________                      Unliquidated
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                  Disputed
         
         ✔      Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                            Student loans
               Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                      that you did not report as priority claims

               Check if this claim is for a community debt
                                                                                            Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
         Is the claim subject to offset?
         
         ✔      No
               Yes
          American Express
4.3
                                                                                         Last 4 digits of account number       CV2015-093096
         _____________________________________________________________                                                                                            Unknown
                                                                                                                                                                 $_________________
         Nonpriority Creditor’s Name                                                     When was the debt incurred?           ____________
         Zwicker & Associates PC
         _____________________________________________________________
         Number            Street
         1225 W Washington St Ste 110
         _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
         Tempe                               AZ       85281-1237
         _____________________________________________________________                      Contingent
         City                                             State          ZIP Code
         Who incurred the debt? Check one.                                                  Unliquidated

         
         ✔      Debtor 1 only
                                                                                            Disputed

               Debtor 2 only                                                            Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                  Student loans
               At least one of the debtors and another                                     Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
               Check if this claim is for a community debt                                 Debts to pension or profit-sharing plans, and other similar debts

         Is the claim subject to offset?                                                 
                                                                                         ✔   Other. Specify Judgment Liens

         
         ✔ No

               Yes

                Case 2:18-bk-13576-MCW                              Doc 19          Filed 12/07/18           Entered 12/07/18 19:21:34                            Desc
      Official Form 106E/F                                     Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
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                                                                                                                                                                             3 of ___
                                                                                                                                                                                  8
                      Barbara K Berrett                                                                                             2:18-bk-13576-MCW
 Debtor 1            _______________________________________________________                                  Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.4     American Home Sheild
       _____________________________________________________________                     Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                                 Unknown
                                                                                                                                                                 $__________________
        860 Ridge Lake Blvd.                                                             When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
        Memphis                                          TN
       _____________________________________________________________
                                                                        38135
       City                                              State          ZIP Code            Contingent
                                                                                            Unliquidated
       Who incurred the debt? Check one.
                                                                                            Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                            Student loans
              Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                       that you did not report as priority claims

              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.5     Bank of America                                                                  Last 4 digits of account number                                          16,375.09
                                                                                                                                                                 $__________________
       _____________________________________________________________                     When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        PO Box 982235
       _____________________________________________________________
       Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       El Paso                             TX       79998                                   Contingent
       _____________________________________________________________
       City                                              State          ZIP Code            Unliquidated
       Who incurred the debt? Check one.                                                    Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                            Student loans

              At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Business credit line
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.6     Bank of America                                                                  Last 4 digits of account number
        _____________________________________________________________                                                                                             14,085.25
                                                                                                                                                                 $_________________
        Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
        PO Box 982238
        _____________________________________________________________
        Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        El Paso                             TX       79998
        _____________________________________________________________                       Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                   Unliquidated

       
       ✔       Debtor 1 only
                                                                                            Disputed

              Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                   Student loans
              At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   
                                                                                         ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes

              Case 2:18-bk-13576-MCW                               Doc 19           Filed 12/07/18            Entered 12/07/18 19:21:34                           Desc
   Official Form 106E/F                                       Schedule
                                                                Main E/F: Creditors Who Have
                                                                       Document         Page Unsecured
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                                                                                                                                                                                  8
                      Barbara K Berrett                                                                                             2:18-bk-13576-MCW
 Debtor 1            _______________________________________________________                                 Case number (if known)_____________________________________
                     First Name       Middle Name           Last Name


 Pa rt 2 :          List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
       No. You have nothing to report in this part. Submit this form to the court with your other schedules.
      
      ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
      nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
      included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
      claims fill out the Continuation Page of Part 2.

                                                                                                                                                                   Total claim
4.7     Bank of America, N.A
       _____________________________________________________________                     Last 4 digits of account number
       Nonpriority Creditor’s Name                                                                                                                                 9,527.19
                                                                                                                                                                 $__________________
        PO Box 982238                                                                    When was the debt incurred?           ____________
       _____________________________________________________________
       Number             Street

       _______________________________________________________________________
                                                                                         As of the date you file, the claim is: Check all that apply.
        El Paso                                          TX
       _____________________________________________________________
                                                                        79998
       City                                              State          ZIP Code            Contingent
                                                                                            Unliquidated
       Who incurred the debt? Check one.
                                                                                            Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
                                                                                            Student loans
              Debtor 1 and Debtor 2 only
                                                                                            Obligations arising out of a separation agreement or divorce
              At least one of the debtors and another                                       that you did not report as priority claims

              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.8     Citicard                                                                         Last 4 digits of account number                                          14,396.00
                                                                                                                                                                 $__________________
       _____________________________________________________________                     When was the debt incurred?           ____________
       Nonpriority Creditor’s Name
        PO Box 3241
       _____________________________________________________________
       Number              Street
                                                                                         As of the date you file, the claim is: Check all that apply.
       _______________________________________________________________________
       Sioux Falls                         SD       57117                                   Contingent
       _____________________________________________________________
       City                                              State          ZIP Code            Unliquidated
       Who incurred the debt? Check one.                                                    Disputed
       
       ✔       Debtor 1 only
                                                                                         Type of NONPRIORITY unsecured claim:
              Debtor 2 only
              Debtor 1 and Debtor 2 only
                                                                                            Student loans

              At least one of the debtors and another
                                                                                            Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                         
                                                                                         ✔   Other. Specify Credit Card Debt
       Is the claim subject to offset?
       
       ✔       No
              Yes
4.9     Discover Financial Services                                                      Last 4 digits of account number
        _____________________________________________________________                                                                                             8,113.79
                                                                                                                                                                 $_________________
        Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
        PO Box 15316
        _____________________________________________________________
        Number             Street
                                                                                         As of the date you file, the claim is: Check all that apply.
        _______________________________________________________________________
        Cleveland                           OH       44144
        _____________________________________________________________                       Contingent
        City                                             State           ZIP Code
        Who incurred the debt? Check one.                                                   Unliquidated

       
       ✔       Debtor 1 only
                                                                                            Disputed

              Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
              Debtor 1 and Debtor 2 only                                                   Student loans
              At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                             that you did not report as priority claims
              Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
       Is the claim subject to offset?                                                   
                                                                                         ✔   Other. Specify Credit Card Debt
       
       ✔       No
              Yes

              Case 2:18-bk-13576-MCW                               Doc 19           Filed 12/07/18           Entered 12/07/18 19:21:34                            Desc
   Official Form 106E/F                                       Schedule
                                                                Main E/F: Creditors Who Have
                                                                       Document         Page Unsecured
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                                                                                                                                                                             5 of ___
                                                                                                                                                                                  8
                       Barbara K Berrett                                                                                             2:18-bk-13576-MCW
 Debtor 1             _______________________________________________________                                 Case number (if known)_____________________________________
                      First Name       Middle Name           Last Name


 Pa rt 2 :           List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
        No. You have nothing to report in this part. Submit this form to the court with your other schedules.
       
       ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
       nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
       included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
       claims fill out the Continuation Page of Part 2.

                                                                                                                                                                    Total claim
4.10 First Service Residential
        _____________________________________________________________                     Last 4 digits of account number
        Nonpriority Creditor’s Name                                                                                                                                 4,500.00
                                                                                                                                                                  $__________________
         900 East Pima Center Parkway, Suite 300                                          When was the debt incurred?           ____________
        _____________________________________________________________
        Number             Street

        _______________________________________________________________________
                                                                                          As of the date you file, the claim is: Check all that apply.
         Scottsdale                                       AZ
        _____________________________________________________________
                                                                         85258
        City                                              State          ZIP Code            Contingent
                                                                                             Unliquidated
        Who incurred the debt? Check one.
                                                                                             Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
                                                                                             Student loans
               Debtor 1 and Debtor 2 only
                                                                                             Obligations arising out of a separation agreement or divorce
               At least one of the debtors and another                                       that you did not report as priority claims

               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify HOA
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.11 Key Bank                                                                             Last 4 digits of account number                                          4,915.50
                                                                                                                                                                  $__________________
        _____________________________________________________________                     When was the debt incurred?           ____________
        Nonpriority Creditor’s Name
         4910 Tiedeman Road
        _____________________________________________________________
        Number              Street
                                                                                          As of the date you file, the claim is: Check all that apply.
        Client Services OH
        _______________________________________________________________________
        Cleveland                           OH       44144                                   Contingent
        _____________________________________________________________
        City                                              State          ZIP Code            Unliquidated
        Who incurred the debt? Check one.                                                    Disputed
        
        ✔       Debtor 1 only
                                                                                          Type of NONPRIORITY unsecured claim:
               Debtor 2 only
               Debtor 1 and Debtor 2 only
                                                                                             Student loans

               At least one of the debtors and another
                                                                                             Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          
                                                                                          ✔   Other. Specify Monies Loaned / Advanced
        Is the claim subject to offset?
        
        ✔       No
               Yes
4.12     Key Bank                                                                         Last 4 digits of account number
         _____________________________________________________________                                                                                             56,934.41
                                                                                                                                                                  $_________________
         Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________
         4910 Tiedeman Road
         _____________________________________________________________
         Number             Street
                                                                                          As of the date you file, the claim is: Check all that apply.
         _______________________________________________________________________
         Cleveland                           OH       44144
         _____________________________________________________________                       Contingent
         City                                             State           ZIP Code
         Who incurred the debt? Check one.                                                   Unliquidated

        
        ✔       Debtor 1 only
                                                                                             Disputed

               Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
               Debtor 1 and Debtor 2 only                                                   Student loans
               At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                              that you did not report as priority claims
               Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
        Is the claim subject to offset?                                                   
                                                                                          ✔   Other. Specify Commercial Credit Line
        
        ✔       No
               Yes

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   Official Form 106E/F                                        Schedule
                                                                 Main E/F: Creditors Who Have
                                                                        Document         Page Unsecured
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                                                                                                                                                                              6 of ___
                                                                                                                                                                                   8
                    Barbara K Berrett                                                                                             2:18-bk-13576-MCW
Debtor 1           _______________________________________________________                                  Case number (if known)_____________________________________
                   First Name       Middle Name           Last Name


 Pa rt 2 :        List All of Y our NON PRIORIT Y U nse c ure d Cla ims

 3. Do any creditors have nonpriority unsecured claims against you?
     No. You have nothing to report in this part. Submit this form to the court with your other schedules.
    
    ✔ Yes


 4. List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
    nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
    included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.If you have more than three nonpriority unsecured
    claims fill out the Continuation Page of Part 2.

                                                                                                                                                                 Total claim
4.13 Safeguard
      _____________________________________________________________                    Last 4 digits of account number
      Nonpriority Creditor’s Name                                                                                                                                Unknown
                                                                                                                                                               $__________________
       8454 N 90th St                                                                  When was the debt incurred?           ____________
      _____________________________________________________________
      Number            Street

      _______________________________________________________________________
                                                                                       As of the date you file, the claim is: Check all that apply.
       Scottsdale                                      AZ
      _____________________________________________________________
                                                                      85258
      City                                             State          ZIP Code            Contingent
                                                                                          Unliquidated
      Who incurred the debt? Check one.
                                                                                          Disputed
      
      ✔      Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
                                                                                          Student loans
            Debtor 1 and Debtor 2 only
                                                                                          Obligations arising out of a separation agreement or divorce
            At least one of the debtors and another                                       that you did not report as priority claims

            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                       
                                                                                       ✔   Other. Specify Insurance
      Is the claim subject to offset?
      
      ✔      No
            Yes

                                                                                       Last 4 digits of account number                                         $__________________
      _____________________________________________________________                    When was the debt incurred?           ____________
      Nonpriority Creditor’s Name

      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________
                                                                                          Contingent
      _____________________________________________________________
      City                                             State          ZIP Code            Unliquidated
      Who incurred the debt? Check one.                                                   Disputed
            Debtor 1 only
                                                                                       Type of NONPRIORITY unsecured claim:
            Debtor 2 only
            Debtor 1 and Debtor 2 only
                                                                                          Student loans

            At least one of the debtors and another
                                                                                          Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
                                                                                          Other. Specify
      Is the claim subject to offset?
            No
            Yes

                                                                                       Last 4 digits of account number
      _____________________________________________________________                                                                                            $_________________
      Nonpriority Creditor’s Name                                                      When was the debt incurred?           ____________

      _____________________________________________________________
      Number             Street
                                                                                       As of the date you file, the claim is: Check all that apply.
      _______________________________________________________________________

      _____________________________________________________________                       Contingent
      City                                             State           ZIP Code
      Who incurred the debt? Check one.                                                   Unliquidated

            Debtor 1 only
                                                                                          Disputed

            Debtor 2 only                                                             Type of NONPRIORITY unsecured claim:
            Debtor 1 and Debtor 2 only                                                   Student loans
            At least one of the debtors and another                                      Obligations arising out of a separation agreement or divorce
                                                                                           that you did not report as priority claims
            Check if this claim is for a community debt                                  Debts to pension or profit-sharing plans, and other similar debts
      Is the claim subject to offset?                                                     Other. Specify
            No
            Yes

             Case 2:18-bk-13576-MCW                              Doc 19           Filed 12/07/18            Entered 12/07/18 19:21:34                           Desc
  Official Form 106E/F                                      Schedule
                                                              Main E/F: Creditors Who Have
                                                                     Document         Page Unsecured
                                                                                             23 of 31Claims                                                           page __
                                                                                                                                                                           7 of ___
                                                                                                                                                                                8
               Barbara K Berrett                                                                              2:18-bk-13576-MCW
Debtor 1       _______________________________________________________                     Case number (if known)_____________________________________
               First Name    Middle Name         Last Name



Pa rt 4 :   Add the Am ount s for Ea c h Type of U nse c ure d Cla im


6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
    Add the amounts for each type of unsecured claim.




                                                                                      Total claim


                6a. Domestic support obligations                              6a.                         0.00
Total claims                                                                          $_________________________
from Part 1
                6b. Taxes and certain other debts you owe the
                    government                                                6b.                 429,854.84
                                                                                      $_________________________

                6c. Claims for death or personal injury while you were
                    intoxicated                                               6c.                         0.00
                                                                                      $_________________________

                6d. Other. Add all other priority unsecured claims.
                    Write that amount here.                                   6d.
                                                                                    + $_________________________
                                                                                                          0.00


                6e. Total. Add lines 6a through 6d.                           6e.
                                                                                                  429,854.84
                                                                                      $_________________________



                                                                                      Total claim

                6f. Student loans                                             6f.                          0.00
Total claims                                                                           $_________________________
from Part 2
                6g. Obligations arising out of a separation agreement
                    or divorce that you did not report as priority
                    claims                                                    6g.
                                                                                                           0.00
                                                                                       $_________________________

                6h. Debts to pension or profit-sharing plans, and other
                    similar debts                                             6h.                          0.00
                                                                                      $_________________________

                6i. Other. Add all other nonpriority unsecured claims.
                    Write that amount here.                                   6i.   + $_________________________
                                                                                                  170,515.23


                6j. Total. Add lines 6f through 6i.                           6j.
                                                                                                   170,515.23
                                                                                       $_________________________




           Case 2:18-bk-13576-MCW                        Doc 19       Filed 12/07/18       Entered 12/07/18 19:21:34                  Desc
  Official Form 106E/F                                Schedule
                                                        Main E/F: Creditors Who Have
                                                               Document         Page Unsecured
                                                                                       24 of 31Claims                                       page __
                                                                                                                                                 8 of ___
                                                                                                                                                       8
 Fill in this information to identify your case:

                       Barbara K Berrett
 Debtor               __________________________________________________________________
                       First Name             Middle Name            Last Name

 Debtor 2              ________________________________________________________________
 (Spouse If filing)    First Name             Middle Name            Last Name


 United States Bankruptcy Court for the:______________________
                                        District of Arizona    District of ________
                                                                                 (State)
 Case number            2:18-bk-13576-MCW
                       ___________________________________________
  (If known)                                                                                                                             Check if this is an
                                                                                                                                            amended filing


Official Form 106G
Sc he dule G: Ex e c ut ory Cont ra c t s a nd U ne x pire d Le a se s                                                                               12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).


 1. Do you have any executory contracts or unexpired leases?
          No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
      
      ✔    Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

 2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for
    example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
    unexpired leases.



      Person or company with whom you have the contract or lease                                State what the contract or lease is for


2.1                                                                                        Office Lease Arizona
       Teachers Insurance and Annuity Association of America
      _____________________________________________________________________
      Name                                                                                 Lessee

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.2                                                                                        Office Lease Utah
       Wasatch Commercial Management
      _____________________________________________________________________                Lessee
      Name
       595 S. Riverwoods Pkwy, Suite 400
      _____________________________________________________________________
      Street
       Logan                       UT                 84321
      _____________________________________________________________________
      City                         State   ZIP Code

2.3
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.4
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

2.5
      _____________________________________________________________________
      Name

      _____________________________________________________________________
      Street

      _____________________________________________________________________
      City                         State   ZIP Code

           Case 2:18-bk-13576-MCW                           Doc 19     Filed 12/07/18             Entered 12/07/18 19:21:34                   Desc
Official Form 106G                             ScheduleMain
                                                       G: Executory Contracts and
                                                             Document             Unexpired
                                                                                Page   25 ofLeases
                                                                                               31                                                       1
                                                                                                                                              page 1 of ___
 Fill in this information to identify your case:

                     Barbara K Berrett
 Debtor 1           __________________________________________________________________
                        First Name                    Middle Name              Last Name

 Debtor 2               ________________________________________________________________
 (Spouse, if filing) First Name                       Middle Name              Last Name


 United States Bankruptcy Court for the:_______________________
                                         District of Arizona    District of ________
                                                                                           (State)
 Case number              2:18-bk-13576-MCW
                        ____________________________________________
  (If known)
                                                                                                                                              Check if this is an
                                                                                                                                                amended filing

Official Form 106H
Sc he dule H : Y our Code bt ors                                                                                                                          12/15
Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

 1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
      
      ✔    No
          Yes
 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
      Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)
          No. Go to line 3.
      
      ✔    Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
           
           ✔       No
                  Yes. In which community state or territory did you live? __________________. Fill in the name and current address of that person.


                   ______________________________________________________________________
                   Name of your spouse, former spouse, or legal equivalent

                   ______________________________________________________________________
                   Number            Street

                   ______________________________________________________________________
                   City                                             State                    ZIP Code

 3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
      shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
      Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
      Schedule E/F, or Schedule G to fill out Column 2.

       Column 1: Your codebtor                                                                             Column 2: The creditor to whom you owe the debt

                                                                                                           Check all schedules that apply:
3.1
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
          Street                                                                                              Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

3.2
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
          Street                                                                                              Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

3.3
         ________________________________________________________________________________                     Schedule D, line ______
         Name

         ________________________________________________________________________________
                                                                                                              Schedule E/F, line ______
          Street                                                                                              Schedule G, line ______
         ________________________________________________________________________________
         City                                                          State                    ZIP Code

          Case 2:18-bk-13576-MCW                                      Doc 19 Filed 12/07/18 Entered 12/07/18 19:21:34                             Desc
Official Form 106H                                                         Schedule H: Your Codebtors
                                                                      Main Document         Page 26 of 31                                                    1
                                                                                                                                                  page 1 of ___
 Fill in this information to identify your case:

                      Barbara K Berrett
 Debtor 1           ____________________________________________________________________
                     First Name             Middle Name            Last Name

 Debtor 2            ____________________________________________________________________
 (Spouse, if filing) First Name             Middle Name            Last Name


 United States Bankruptcy Court for the: ______________________
                                          District of Arizona   District
                                                                                tate)
 Case number            2:18-bk-13576-MCW
                     ___________________________________________                                    Check if this is:
  (If known)
                                                                                                     An amended filing
                                                                                                     A supplement showing postpetition chapter 13
                                                                                                       income as of the following date:
                                                                                                       ________________
Official Form 106I                                                                                     MM / DD / YYYY

Sche dule I : Your I nc om e                                                                                                                      12/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your spouse.
If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.


 Pa rt 1 :         De sc ribe Em ployme nt


1. Fill in your employment
    information.                                                         Debtor 1                                    Debtor 2 or non-filing spouse

    If you have more than one job,
    attach a separate page with                                       ✔ Employed
    information about additional         Employment status                                                             Employed
    employers.                                                         Not employed                                    Not employed
    Include part-time, seasonal, or
    self-employed work.
                                         Occupation                 __________________________________           __________________________________
    Occupation may include student
    or homemaker, if it applies.                                       Berrett & Associates, LLC
                                         Employer’s name            __________________________________            __________________________________


                                         Employer’s address        _______________________________________      ________________________________________
                                                                    Number Street                                Number    Street

                                                                   _______________________________________      ________________________________________

                                                                   _______________________________________      ________________________________________

                                                                      ,
                                                                   _______________________________________      ________________________________________
                                                                    City            State  ZIP Code               City                State ZIP Code

                                          How long employed there?________________________                        ________________________

 Pa rt 2 :         Give De t a ils About Mont hly I nc ome

    Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
    spouse unless you are separated.
    If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines
    below. If you need more space, attach a separate sheet to this form.

                                                                                               For Debtor 1       For Debtor 2 or
                                                                                                                  non-filing spouse
 2. List monthly gross wages, salary, and commissions (before all payroll
     deductions). If not paid monthly, calculate what the monthly wage would be.        2.      11,889.00
                                                                                              $___________           $____________

 3. Estimate and list monthly overtime pay.                                             3.   + $___________
                                                                                                       0.00      +   $____________


 4. Calculate gross income. Add line 2 + line 3.                                        4.      11,889.00
                                                                                              $__________            $____________



          Case 2:18-bk-13576-MCW
Official Form 106I
                                                          Doc 19Schedule
                                                                    FiledI: Your
                                                                            12/07/18
                                                                                 Income
                                                                                        Entered 12/07/18 19:21:34                          Desc
                                                                                                                                             page 1
                                                          Main Document          Page 27 of 31
Debtor 1
                 Barbara   K Berrett
                 _______________________________________________________                                                                          2:18-bk-13576-MCW
                                                                                                                          Case number (if known)_____________________________________
                 First Name         Middle Name               Last Name

                                                                                                                         For Debtor 1         For Debtor 2 or
                                                                                                                                              non-filing spouse

   Copy line 4 here ............................................................................................  4.       11,889.00
                                                                                                                          $___________            $_____________
5. List all payroll deductions:

     5a. Tax, Medicare, and Social Security deductions                                                           5a.            0.00
                                                                                                                         $____________            $_____________
     5b. Mandatory contributions for retirement plans                                                            5b.            0.00
                                                                                                                         $____________            $_____________
     5c. Voluntary contributions for retirement plans                                                            5c.            0.00
                                                                                                                         $____________            $_____________
     5d. Required repayments of retirement fund loans                                                            5d.            0.00
                                                                                                                         $____________            $_____________
     5e. Insurance                                                                                               5e.            0.00
                                                                                                                         $____________            $_____________
     5f. Domestic support obligations                                                                            5f.            0.00
                                                                                                                         $____________            $_____________
                                                                                                                                0.00
                                                                                                                         $____________            $_____________
     5g. Union dues                                                                                              5g.
     5h. Other deductions. Specify: __________________________________                                           5h.    + $____________
                                                                                                                                 0.00         +   $_____________
    _____________________________________________________________
                                                                                                                                 0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________
    _____________________________________________________________                                                               0.00
                                                                                                                         $____________            $____________

 6. Add the payroll deductions. Add lines 5a + 5b + 5c + 5d + 5e +5f + 5g + 5h.                                   6.             0.00
                                                                                                                         $____________            $____________
 7. Calculate total monthly take-home pay. Subtract line 6 from line 4.                                           7.       11,889.00
                                                                                                                         $____________            $____________


 8. List all other income regularly received:

     8a. Net income from rental property and from operating a business,
         profession, or farm
           Attach a statement for each property and business showing gross
           receipts, ordinary and necessary business expenses, and the total                                                    0.00
                                                                                                                         $____________            $_____________
           monthly net income.                                                                                   8a.
     8b. Interest and dividends                                                                                  8b.            0.00
                                                                                                                         $____________            $_____________
     8c. Family support payments that you, a non-filing spouse, or a dependent
         regularly receive
           Include alimony, spousal support, child support, maintenance, divorce                                                 0.00
                                                                                                                         $____________            $_____________
           settlement, and property settlement.                                                                  8c.
     8d. Unemployment compensation                                                                               8d.            0.00
                                                                                                                         $____________            $_____________
     8e. Social Security                                                                                         8e.            0.00
                                                                                                                         $____________            $_____________
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) of any non-cash assistance
         that you receive, such as food stamps (benefits under the Supplemental
         Nutrition Assistance Program) or housing subsidies.
         Specify: ___________________________________________________ 8f.                                                       0.00
                                                                                                                         $____________            $_____________

     8g. Pension or retirement income                                                                            8g.            0.00
                                                                                                                         $____________            $_____________

     8h. Other monthly income. Specify: _______________________________                                          8h.    + $____________
                                                                                                                                 0.00         + $_____________
 9. Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f +8g + 8h.                                         9.            0.00
                                                                                                                         $____________            $_____________

10. Calculate monthly income. Add line 7 + line 9.
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.                                    10.
                                                                                                                           11,889.00
                                                                                                                         $___________     +       $_____________      =     11,889.00
                                                                                                                                                                          $_____________

11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify: _______________________________________________________________________________                                                                    11. + $_____________
                                                                                                                                                                              0.00
12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
                                                                                                                                                                            11,889.00
                                                                                                                                                                          $_____________
    Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical Information, if it applies                                          12.
                                                                                                                                                                          Combined
                                                                                                                                                                          monthly income
13. Do you expect an increase or decrease within the year after you file this form?
      
      ✔    No.
          Yes. Explain:


           Case 2:18-bk-13576-MCW
  Official Form 106I
                                                                    Doc 19Schedule
                                                                              FiledI: Your
                                                                                      12/07/18
                                                                                           Income
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  Fill in this information to identify your case:

                     Barbara K Berrett
  Debtor 1          __________________________________________________________________
                      First Name              Middle Name                 Last Name                           Check if this is:
  Debtor 2            ________________________________________________________________
  (Spouse, if filing) First Name              Middle Name                 Last Name
                                                                                                               An amended filing
                                          District of Arizona
                                                                                                               A supplement showing postpetition chapter 13
  United States Bankruptcy Court for the: ______________________ District of __________                           expenses as of the following date:
                                                                                      (State)
                       2:18-bk-13576-MCW                                                                          ________________
  Case number         ___________________________________________                                                 MM / DD / YYYY
  (If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                                                    12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case number
(if known). Answer every question.

 Part 1:            Describe Your Household

1. Is this a joint case?

   ✔ No. Go to line 2.
   
    Yes. Does Debtor 2 live in a separate household?
                    No
                    Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Do you have dependents?                  ✔ No
                                                                                          Dependent’s relationship to              Dependent’s   Does dependent live
   Do not list Debtor 1 and                  Yes. Fill out this information for           Debtor 1 or Debtor 2                     age           with you?
   Debtor 2.                                    each dependent..........................
   Do not state the dependents’
                                                                                                                                                      No
                                                                                           _________________________                ________
   names.                                                                                                                                             Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

                                                                                           _________________________                ________          No
                                                                                                                                                      Yes

3. Do your expenses include
   expenses of people other than
                                               No
   yourself and your dependents?               Yes

Part 2:         Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form 106I.)                                                  Your expenses

 4. The rental or home ownership expenses for your residence. Include first mortgage payments and
                                                                                                                                                 11,300.00
                                                                                                                                      $_____________________
     any rent for the ground or lot.                                                                                          4.

     If not included in line 4:
                                                                                                                                                         0.00
     4a.    Real estate taxes                                                                                                 4a.     $_____________________
     4b.    Property, homeowner’s, or renter’s insurance                                                                      4b.
                                                                                                                                                       705.00
                                                                                                                                      $_____________________
     4c.    Home maintenance, repair, and upkeep expenses                                                                     4c.                   945.00
                                                                                                                                      $_____________________
     4d.    Homeowner’s association or condominium dues                                                                       4d.                   625.00
                                                                                                                                      $_____________________

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 Debtor 1          _______________________________________________________                Case number (if known)_____________________________________
                   First Name     Middle Name        Last Name




                                                                                                                     Your expenses

                                                                                                                    $_____________________
                                                                                                                                2,500.00
 5. Additional mortgage payments for your residence, such as home equity loans                               5.


 6. Utilities:

       6a.    Electricity, heat, natural gas                                                                 6a.    $_____________________
                                                                                                                                  638.00
       6b.    Water, sewer, garbage collection                                                               6b.    $_____________________
                                                                                                                                2,000.00
       6c.    Telephone, cell phone, Internet, satellite, and cable services                                 6c.    $_____________________
                                                                                                                                  400.00
       6d.    Other. Specify: _______________________________________________                                6d.    $_____________________
                                                                                                                                     0.00
 7. Food and housekeeping supplies                                                                           7.     $_____________________
                                                                                                                                1,500.00
 8. Childcare and children’s education costs                                                                 8.     $_____________________
                                                                                                                                     0.00
 9. Clothing, laundry, and dry cleaning                                                                      9.     $_____________________
                                                                                                                                   34.00
10.    Personal care products and services                                                                   10.    $_____________________
                                                                                                                                   38.00
11.    Medical and dental expenses                                                                           11.    $_____________________
                                                                                                                                  700.00
12. Transportation. Include gas, maintenance, bus or train fare.
                                                                                                                    $_____________________
                                                                                                                                  400.00
       Do not include car payments.                                                                          12.

13.    Entertainment, clubs, recreation, newspapers, magazines, and books                                    13.    $_____________________
                                                                                                                                   75.00
14.    Charitable contributions and religious donations                                                      14.    $_____________________
                                                                                                                                     0.00
                                                                                                                                                  1
15.    Insurance.
       Do not include insurance deducted from your pay or included in lines 4 or 20.

       15a. Life insurance                                                                                   15a.               1,000.00
                                                                                                                    $_____________________
       15b. Health insurance                                                                                 15b.   $_____________________
                                                                                                                                1,280.64
       15c. Vehicle insurance                                                                                15c.   $_____________________
                                                                                                                                  575.00
                                       Disability
       15d. Other insurance. Specify:_______________________________________                                 15d.   $_____________________
                                                                                                                                  172.00

16.    Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
       Specify: ________________________________________________________                                     16.
                                                                                                                                    0.00
                                                                                                                    $_____________________

17.    Installment or lease payments:

       17a. Car payments for Vehicle 1                                                                       17a.   $_____________________
                                                                                                                                     0.00
       17b. Car payments for Vehicle 2                                                                       17b.   $_____________________
                                                                                                                                     0.00
       17c. Other. Specify:_______________________________________________                                   17c.   $_____________________
                                                                                                                                     0.00
       17d.                    Lease Payments on Utah and AZ Business Offices
              Other. Specify:_______________________________________________                                 17d.              14,880.85
                                                                                                                    $_____________________

18.    Your payments of alimony, maintenance, and support that you did not report as deducted from
       your pay on line 5, Schedule I, Your Income (Official Form 106I).                                      18.                    0.00
                                                                                                                    $_____________________

19.    Other payments you make to support others who do not live with you.
       Specify:_______________________________________________________                                        19.
                                                                                                                                     0.00
                                                                                                                    $_____________________

20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.

       20a. Mortgages on other property                                                                      20a.   $_____________________
                                                                                                                                     0.00
       20b. Real estate taxes                                                                                20b.   $_____________________
                                                                                                                                     0.00
       20c. Property, homeowner’s, or renter’s insurance                                                     20c.   $_____________________
                                                                                                                                     0.00
       20d. Maintenance, repair, and upkeep expenses                                                         20d.   $_____________________
                                                                                                                                     0.00
       20e. Homeowner’s association or condominium dues                                                      20e.   $_____________________
                                                                                                                                     0.00


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Debtor 1         _______________________________________________________                       Case number (if known)_____________________________________
                 First Name    Middle Name        Last Name




21.    Other. Specify:______________________________________________________________________                                              0.00
                                                                                                                  21.   +$_____________________
______________________________________________________________________________________                                  +$_____________________
______________________________________________________________________________________                                  +$_____________________
22.     Calculate your monthly expenses.

       22a. Add lines 4 through 21.                                                                             22a.                39,768.49
                                                                                                                         $_____________________

       22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2 22c. Add line 22a   22b.     $_____________________

       and 22b. The result is your monthly expenses.                                                            22c.                39,768.49
                                                                                                                         $_____________________


23. Calculate your monthly net income.
                                                                                                                                     11,889.00
                                                                                                                          $_____________________
      23a.   Copy line 12 (your combined monthly income) from Schedule I.                                        23a.

      23b.   Copy your monthly expenses from line 22c above.                                                     23b.                39,768.49
                                                                                                                        – $_____________________

      23c.   Subtract your monthly expenses from your monthly income.                                                               -27,879.49
                                                                                                                          $_____________________
             The result is your monthly net income.                                                              23c.



24. Do you expect an increase or decrease in your expenses within the year after you file this form?

      For example, do you expect to finish paying for your car loan within the year or do you expect your
      mortgage payment to increase or decrease because of a modification to the terms of your mortgage?

       No.
      ✔
         Yes.     Explain here:




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